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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


IOWA PUBLIC EMPLOYEES’
RETIREMENT SYSTEM, et al.,             No. 17-cv-6221 (KPF)

        Plaintiffs,

                        v.

BANK OF AMERICA CORPORATION, et
al.,

        Defendants.



   STIPULATION AND ORDER REGARDING DISCOVERY RELATED TO
                     TESTIFYING EXPERTS
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        Plaintiffs and Defendants (collectively, the “Parties”) to this Action, through their

undersigned counsel, hereby stipulate and agree to the following regarding expert discovery and

testimony in this Action:

        1.      This Stipulation and Order shall govern discovery related to testifying experts in

this Action whose identities are required to be disclosed pursuant to Fed. R. Civ. P. 26(a)(2)(A)

and this Stipulation and Order (hereinafter “expert witness[es]”). Except as previously agreed

among the Parties in writing or as permitted by Court order, the Parties agree that there shall be no

discovery or disclosures with respect to non-testifying experts and/or consultants. To the extent

this Stipulation and Order limits discovery that would otherwise be available pursuant to the

Federal Rules of Civil Procedure, the Parties agree to abide by the limits set forth in this Stipulation

and Order except insofar as permitted by other Court order. Nothing in this Stipulation and Order

constitutes an admission or concession that any of the information exempted from discovery by

this Stipulation and Order would otherwise be discoverable or admissible. Further, nothing in this

Stipulation and Order requires discovery of any information that would otherwise be protected

from discovery by the attorney client privilege, work product doctrine, or other applicable

privileges or protections.

        2.      Each Party shall make all disclosures required by Rule 26(a)(2)(A) and (B)(i), (iii),

(iv), (v), and (vi) of the Federal Rules of Civil Procedure, as modified by this Stipulation and

Order, at the times provided by any applicable rules and Court order(s) governing the disclosure

of expert testimony in this Action. Within four (4) business days of disclosing any expert

testimony, including written reports, the Parties that engaged the expert shall produce to all Parties

all facts, data and other information that the expert witness relied upon in forming his or her

opinion(s); provided, however, that to comply with this Paragraph, a Party need not produce, but



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may simply identify in writing, (i) the Bates ranges of documents or other information produced

in this Action; (ii) the deponent names and dates for transcripts of depositions taken in this Action;

(iii) the exhibit numbers of all exhibits from such depositions; and (iv) citations for publicly

available articles, cases, statutes, journals, treatises, regulatory filings, or other sources. To the

extent the disclosures required by this Stipulation and Order describe or include exhibits,

information, or data results generated, processed, or modeled by computer at the direction of a

disclosed expert witness and relied upon in forming his or her opinions, machine readable copies

of the input data along with the appropriate computer program(s) and instructions sufficient to

replicate such exhibits, information, and data results shall be produced to all Parties. For such

exhibits, information, or data results generated, processed, or modeled by computer at the direction

of a disclosed expert witness and relied upon in forming his or her opinions, all input data,

computer program code, and instructions used by or at the direction of the expert to generate the

exhibits, information, or data results shall be produced, except no Party need produce computer

programs that are reasonably and readily commercially available.

       3.      All electronic data, together with program(s) and instructions described in

Paragraph 2, shall be made available within the four (4) business day period described therein, and

shall be delivered by hand, overnight express, or electronic means (e.g., FTP) to: (i) counsel for

each Defendant (one copy per Defendant or group of Defendants represented by the same counsel);

and (ii) counsel for each Plaintiff class or proposed Plaintiff class (one copy per Plaintiff class or

proposed Plaintiff class).

       4.      Except as previously agreed among the Parties in writing or otherwise required by

Court order, the following non-exhaustive categories of data, information, documents or materials

need not be produced by any Party, and are not subject to discovery in this matter, even if an expert



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witness reviewed or considered them, if the expert witness did not rely on them in forming his or

her disclosed opinion(s) or other testimony:

               (a)     non-final versions of any expert witness’s reports, opinions, written

testimony or work papers prepared in connection with this Action; preliminary calculations,

computations, modeling or data runs prepared in connection with this Action; or other preliminary

or draft materials prepared by, for, or at the direction of an expert witness;

               (b)     any notes taken or other writings prepared by, for, or at the direction of an

expert witness in connection with this Action, including correspondence or memos to or from, and

notes of conversations with the expert witness’s assistants and/or clerical or support staff, other

expert witnesses or non-testifying experts and/or consultants, or attorneys for the Party offering

the testimony of such expert witness; and

               (c)     information or communications, written or otherwise exchanged, recounted,

or memorialized among or between (i) counsel and the expert witness and/or the expert witness’s

staff and/or supporting firms; (ii) counsel and any non-testifying expert and/or consultant and/or

their staff; (iii) the expert witness and other expert witnesses and/or non-testifying experts and/or

consultants; (iv) expert witnesses and their staff and/or supporting firms; (v) non-testifying experts

and/or consultants and their staff and/or supporting firms; (vi) the respective staffs and/or

supporting firms of expert witnesses or non-testifying experts and/or consultants and the staffs

and/or supporting firms of other expert witnesses or non-testifying experts and/or consultants.

       5.      This Stipulation and Order does not impose any independent obligation to retain

the information covered by Paragraph 4 herein.

       6.      Notwithstanding any other provision in this Stipulation and Order, this Stipulation

and Order does not preclude or limit discovery regarding expert work, data, calculations, or other



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material filed with or otherwise submitted to the Court outside of written expert witness reports

or disclosed expert witness testimony.

       7.      This Stipulation and Order also does not preclude reasonable questions at

deposition related to an expert witness’s compensation, or to the number of hours the expert

witness expended in preparing his or her opinion(s).

       8.      Further, nothing herein shall be construed to prevent questions relating to the

substance of the expert witness’s opinion(s) (including alternative theories, methodologies,

variables, or assumptions that the expert witness may not have relied upon in formulating his or

her opinions). Thus, notwithstanding anything to the contrary herein, an expert witness may be

presented at deposition, hearing, or trial with documents, testimony, or other materials not

contained in his or her expert report and questioned about whether the expert witness relied or

did not rely on such documents, testimony, or other materials in formulating his or her

opinion(s), and whether such documents, testimony, or other materials would cause the expert

witness to alter her or his opinion(s) in any respect.

       9.      Nothing herein shall limit or waive any Party’s right to object to the admission

into evidence of any opposing Party’s expert witness report or opinion(s) or other materials, or to

the qualification of any person to serve as an expert witness.

       10.     No subpoena for deposition or documents need be served on any expert witness.

Instead the Party who retained the expert witness shall make the expert witness available for a

deposition at a time and place mutually agreeable to the Parties and shall produce documents in

accordance with the terms of this Stipulation and Order.

       11.     This Stipulation and Order may be amended only by a subsequent written

stipulation among the Parties or upon order of the Court.



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       12.     This Stipulation and Order may be executed in counterparts and shall become

effective as a stipulation as among the executing Parties immediately upon its execution by such

executing Parties.




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DATED: November 11, 2020

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This Stipulation and Order does not bind the Court or any of its
personnel. The Court can modify this Stipulation at any time. The Court
will retain jurisdiction over the terms and conditions of this
Stipulation only for the pendency of this litigation. Any party wishing
to make redacted or sealed submissions shall comply with Rule 6(A) of
this Court's Individual Rules of Civil Procedure.

Dated:    November 11, 2020             SO ORDERED.
          New York, New York




                                        HON. KATHERINE POLK FAILLA
                                        UNITED STATES DISTRICT JUDGE




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